Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 1 of 9
                Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 2 of 9

DEFENDANT: KRISTOPHER KNEUBUHLER
CASE NUMBER: I:23-CR-047-MHC                                                         Judgment -- Page 2 of9


Judgment in a Criminal Case
Sheet 2 -- Imprisonment

                                              IMPRISONMENT

        The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned
for a total term of: FIFTY-SEVEN (57) MONTHS AS TO COUNT TWO.

         The court makes the following recommendations to the Bureau of Prisons: That the Defendant be
allowed to serve his custodial sentence at a facility as close as possible to the Atlanta, Georgia, area; and
 that the Defendant be recommended for participation in the RDAP drug treatment, if qualified, while serving
his sentence.

         The defendant is remanded to the custody of the United States Marshal.



                                                   RETURN

I have executed this judgment as follows:




 Defendant delivered on                                    to

 at ______________ , with a certified copy of this judgment.



                                                                         UNITED STATES MARSHAL




                                                                     DEPUTY UNITED STATES MARSHAL
                 Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 3 of 9

DEFENDANT: KRISTOPHER KNEUBUHLER
CASE NUMBER: l:23-CR-047-MHC                                                              Judgment -- Page 3 of 9


Judgment in a Criminal Case
Sheet 3 -- Supervised Release

                                            SUPERVISED RELEASE

    Upon release from imprisonment, you will be on supervised release for a term of: FIFTEEN (15)
YEARS AS TO COUNT TWO.




                                         MANDATORY CONDITIONS


1. You must not commit another federal, state, or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
   15 days of release from imprisonment and at least two periodic drug tests, thereafter, as determined by the
   court.
       0 The above drug testing condition is suspended, based on the court's determination that you.
       pose a low risk of future substance abuse. (Check ifapplicable)
4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
   a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
   of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.
5. You must cooperate in the collection of DNA as directed by the probation officer.
6. You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §
   20901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
   agency in the location where you reside, work, are a student, or were convicted of a qualifying offense.

You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 4 of 9
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 5 of 9
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 6 of 9
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 7 of 9
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 8 of 9
Case 1:23-cr-00047-MHC-JEM Document 71 Filed 04/10/24 Page 9 of 9
